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 12

 13                              UNITED STATES DISTRICT COURT

 14                            CENTRAL DISTRICT OF CALIFORNIA

 15

 16   NETLIST INC., a Delaware corporation,         Case No. 8:20-cv-00993-MCS-ADS

 17                        Plaintiff,               [PROPOSED] ORDER APPROVING
                                                    SAMSUNG’S SUPERSEDEAS BOND
 18          v.                                     AND STAYING EXECUTION OF
                                                    AWARD OF COSTS PENDING
 19   SAMSUNG ELECTRONICS CO., LTD, a               APPEAL
      Korean corporation,
 20                                                 Judge: Mark C. Scarsi
                           Defendant.
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            [PROPOSED] ORDER APPROVING SAMSUNG’S SUPERSEDEAS BOND AND
                                 STAYING EXECUTION
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  1                                               ORDER
  2           The Court, having considered Defendant Samsung Electronics Co., Ltd.’s Ex Parte
  3   Application for Approval of Supersedeas Bond and Stay of Execution of Award of Costs
  4   Pursuant to Federal Rule of Civil Procedure 62(b), along with the memorandum of points and
  5   authorities and supporting declaration, hereby GRANTS the Application:
  6           IT IS ORDERED that the supersedeas bond proffered by Samsung, in the amount of
  7   $83,078.00, is HEREBY APPROVED; and
  8           IT IS FURTHER ORDERED that the execution of the award of costs in favor of
  9   Plaintiff Netlist Inc., dated April 1, 2022, and proceedings to enforce it, are HEREBY STAYED
10    pursuant to Federal Rule of Civil Procedure 62(b) pending disposition of the pending appeal in
11    this action.
12
13            IT IS SO ORDERED.
14
15            Dated: April ___, 2022
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                                                       By:
17                                                             Hon. Mark C. Scarsi
                                                               United States District Judge
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             [PROPOSED] ORDER APPROVING SAMSUNG’S SUPERSEDEAS BOND AND
                                  STAYING EXECUTION
